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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Brian Swontek,                                   No. CV-16-03602-PHX-DJH
10                  Plaintiff,                        ORDER
11   v.
12   Experian Information Solutions
     Incorporated, et al.,
13
                    Defendants.
14
15            The Court having received the parties' Stipulation for Dismissal of Defendant RGS
16   Financial, Inc. with Prejudice (Doc. 91),
17            IT IS ORDERED approving the Stipulation (Doc. 91) and dismissing this action
18   as to Defendant RGS Financial, Inc. only, with prejudice, each party to bear its own
19   attorneys’ fees and costs.
20            IT IS FURTHER ORDERED directing the Clerk of Court to terminate Defendant
21   RGS Financial, Inc. only.
22            Dated this 6th day of March, 2018.
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                                                   Honorable Diane J. Humetewa
25                                                 United States District Judge
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